Case: 3:10-mc-00002-S|c Document #:

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ATTORNEYS AT LAW

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ONE EAST MAIN STREET
POST OFFlCE BOX 27l9
MADISON, Wl 53701»2719
TEL 608-2574391 l

FAX 608~257~0609
www.gl<law.com

Direct: 608-284-2618
jpeterson@gklaw.com

January 11, 2010

BY HAND DELIVERY

Clerk of the Court

Attn: Lynn

U.S. District Court for the

Western District of Wisconsin

120 North Henry Street, Room 320
Madison, Wl 53701

RE: DMCA Subpoena
Dear Lynn:

We are writing on behalf of Ventura Content AVV (“Ventura”) to obtain a subpoena
issued by the Clerk of this Court pursuant to 17 U.S.C. § 512(h). As explained below, we are
providing the three items required under The Digital Millennium Copyright Act (“DMCA”)
together with the $39 filing fee.

Ventura is the owner of copyrights in a significant number of video works (the “Works”).
Ventura actively seeks to protect its rights against individuals using the lnternet to infringe its
copyrights We have uncovered a large-scale copyright infringer operating a website,
www.tube8.com, at the IP address 208.88.224.91 at 4:00 a.m. (EST), November 19, 2009 (the
“infringing website.”) The infringing website hosts and distributes a number of video files
corresponding to Ventura’s copyrighted Works. Collectively, works owned by Ventura have
been illegally accessed millions of times in violation of longstanding principles of direct and
secondary liability under the copyright laws. See Metro-Gola’wyn-Mayer Stua'ios, Inc. v.
Grokster, Lta'., 545 U.S. 913 (2005); In re Al`mster Copyright Litz`g., 334 F.Zd 643 (7th Cir.
2003); A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir. 2001). Publicly available
information indicates that the website is being hosted by WZ Communications, lnc., an intemet
service provider (ISP) with a principal place of business in Madison, Wisconsin.

Ventura can learn the identities of those behind this infringing website only by obtaining
such information from the infringers’ ISP. The Digital Millennium Copyright Act of 1998
(“DMCA”) provides a method for expeditiously obtaining such information from an ISP.

Pursuant to 17 U.S.C. §512(h), a copyright owner or its agent may obtain a subpoena
(“DMCA Subpoena”) from the Clerk of any United States District Court for the purpose of
seeking the identity of an alleged copyright infringer. Section 512(h)(4) provides that “the clerk
shall expeditiously issue and sign the proposed subpoena” upon presentation of three documents

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in proper form: (i) a copy of a DMCA notice of copyright infringement, §512(h)(2)(A); (ii) a
proposed subpoena, §512(h)(2)(B); and (iii) a sworn declaration meeting the requirements of
§512(h)(2)(C).

On behalf of Ventura, we are seeking to obtain a DMCA Subpoena, issued by the Clerk
of this Court, to serve on WZ Communications, lnc. to learn the identity of the individuals
behind the infringing website. With this letter, we are providing a DMCA notification, a
proposed subpoena, and a declaration satisfying the requirements of the DMCA.

As required by the DMCA, the notification specifies a representative list of the
copyrighted works that are the Subject of infringing activity on the ISP’s network, identifies the
allegedly infringing material to be removed, and provides the ISP with information sufficient to
locate the material The declaration attests, on penalty of perjury, that the purpose of the
subpoena is to obtain the identity of an alleged copyright infringer and that information obtained
in response to the subpoena will be used only to protect rights under the Copyright Act.

Because of the irreparable harm to Ventura by ongoing copyright infringement and the
DMCA’s command that DMCA subpoenas be issued and complied With “expeditiously,” we
request that the Clerk’s office issue this subpoena as soon as possible If you have any questions,
please do not hesitate to call me at (608) 284-2618.

Very truly yours,
GODFREY & KAHN, S.C.

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es D. Peterson

JDP : saw
Enclosure

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